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                                                                           May 3, 2017
VIA EMAIL AND FIRST CLASS MAIL
Richard C 13Woods
Woods Law Group, PA
2105 Southcliff Dr.
Baltimore, M D 21209
Email: rwoods@woodslawgroup.net

             Re:                     United States v. Charles Gilliam. Ur.(aka "Bill Ilead Cham!!", "Big C",
                                     "Chuck"); Criminal Docket No. 1'()~429-JKB (D. Md.)
                                                                                                                                  ;


Dear Mr. Woods:                                                                                                                  {
                                                                                                                                                                   ,,
         This letter, together with the Scaled Supplement, confirms the plea agreenlent that has been'
offered to your client, Charles Gilliam, Jr. (the "Defendant"), by the United States Attomey's
Office for the District of Maryland ("this Office"). If the;Oefendant acccpts this offer, plcase have
him execute it in the spaces provided below. If this offer has not been aeeepted by May 10, 2017, .
it will be deemed withdrawn. The terms of the agreement arc as follows:            :

                                                        Offehses of ConviCtion

        I,     The Defendant agrees to plcad guilty to Count Onc of the Indietment now pending'
against him: conspiracy to distribute and 'possess with intent to distribute a mixture or substance,
containing 'a detectable amount of heroi6, in violation of 21 U.S.c. ~~ 846, ~41(b)( I)(C), and
eonspiracy~to
substance ,Containingcocaine base, in violation of21 U.S,C.                                *~
            , distribute and possess with'intent to distribute 280 grams or more of a mixture or
                                                                                   "

                                                                    846,841 (b)(1)(A). The Defendant
admits that;he is, in fact, guilty of that offense and will so advise the Court.    :
           oJ
                                        Elements of the Offenses

       2.      The clements of Count One to which the Defendant has agreed t6 plead guilty, and.
which this Office would prove if the easewe11l to trial, are as follows:     i
                              a,     That' on or about the dates charged in the Indictment, ,in the District of
                                     Maryland:

                                            I, The Defenqant knowingly" willfully, and unlawfully agreed with
                                               one or more persons to: distribute, and possess with intent to




                                                            .
                                                                 ,,
                                    distribute, a mixture or substance containing heroin and a mixture
                                    or substance containing cocaine base;

                               2. The Defendant knew that the conspiracy would distribute a
                                  detectable amount of heroin and the Defendant knew that the
                                  conspiracy would distribute more than 280 grams of a mixture or
                                  substance containing cocaine base; and

                               3. The participation by the Defendant was knowing and voluntary, and
                                  not by accident or mistake.

                                                     Penalties

         3.     The maximum sentence provided by statute for the offense to which the Defendant
is. pleading guilty is as follows: life imprisonment, with a ten (10) year mandatory minimum,
followed by a term of supervised release of at least five years, and a fine of $10,000,000. In
addition, the Defendant must pay $100 as a special assessment pursuant to 18 U.S.C. 9 3013, which
will be due and should be paid at or before the time of sentencing. Pursuant to 21 U.S.C. 9 881,
and 28 U.S.C. 9 2461, the Defendant will also have to forfeit to the United States the items
identified in paragraph 9. This Court may also order him to make restitution pursuant to 18 U.S.C.
gg 3663, 3663A, and 3664.1 If a fine or restitution is imposed, it shall be payable immediately,
unless, pursuant to 18 U.S.C. 9 3572(d), the Court orders otherwise. The Defendant understands
that if he serves a term of imprisonment, is released on supervised release, and then violates the
conditions of his supervised release, his supervised release could be revoked----even on the last day
of the term-and      the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The Defendant understands that the Bureau
of Prisons has sole discretion in designating the institution at which the Defendant will serve any
term of imprisonment imposed.

                                                Waiver of Rights

        4.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without a jury, ifthe Defendant, this Office, and the Court all agreed.

                b.      If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The

           Pursuant to 18 U.S.C. & 3612, if the Court imposes a fine in excess of$2,500 that remains unpaid 15 days
after it is imposed, the Defendant shall be charged interest on that fine, unless the Court modifies the interest
payment in accordance with 18 U.S.C. & 3612(1)(3).




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jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

               c.     If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government's witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in his
defense, however, he would have the subpoena power of the Court to compel the witnesses to
attend.

                 d.      The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

               e.      If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict
and the Court's decisions.

                f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court's questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for peIjury or false statement.

                 g.     If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

                h.      By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The Defendant
recognizes that if he is not a citizen of the United States, pleading guilty may have consequences
with respect to hislher immigration status. Under federal law, conviction for a broad range of
crimes can lead to adverse immigration consequences, including automatic removal from the
United States. Removal and other immigration consequences are the subject of a separate
proceeding, however, and the Defendant understands that no one, including hislher attorney or the
Court, can predict with certainty the effect of a conviction on immigration status. Defendant
nevertheless affirms that he wants to plead guilty regardless of any potential immigration
consequences.

                              Advisory Sentencing Guidelines Apply

        5.      The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. SS 3551-3742 (excepting 18 U.S.C. SS 3553(b)(1) and 3742(e)) and 28
U.S.C. SS 991 through 998. The Defendant further understands that the Court will impose a



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sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

                              Factual and Advisory Guidelines Stipulation

        6.      This Office and the Defendant understand, agree and stipulate to the Statement of
Facts contained in Attachment A, which this Office would prove beyond a reasonable doubt, and
to the following applicable sentencing guidelines factors:

                   a.      Base Offense Level 32. This Office and the Defendant agree that, the
applicable    base offense level is a level 32 pursuant to U.S.S.G. ~~ 2Dl.l(a)(5), 2Dl.l(c)(3), 2Dl.l
to account    for the equivalent of at least 3 kilograms of heroin, but less than 10 kilograms of heroin,
reasonably     attributable to the Defendant's involvement in this conspiracy.             This quantity
constitutes    a base offense level ofthirty-~32).         ~       f?c}f.u t.  .c..,
                b.      Aggravating Role Enhancement.        This Office and the Defendant further
stipulate and agree that the applicable base offense level should be increased by three (3) levels to
pursuant to U.S.S.G. ~~ 3Bl.l(b) because the Defendant was a manager or supervisor and the
criminal activity involved five or more participants and was otherwise extensive.

                 c.    Maintaining Premises         Enhancement.      This Office and the Defendant
further stipulate and agree that the applicable    adjusted offense level should be increased by two
(2) levels pursuant to U.S.S.G. ~~ 2Dl.l(b)(12)      because the Defendant maintained a premises for
the purpose of manufacturing or distributing a     controlled substance.

                 d.     Acceptance of Responsibility.      This Office does not oppose a two-level
reduction in the Defendant's adjusted offense level, based upon the Defendant's apparent prompt
recognition and affirmative acceptance of personal responsibility for his criminal conduct. This
Office agrees to make a motion pursuant to U.S.S.G. ~ 3E1.I(b) for an additional one-level
decrease in recognition ofthe Defendant's timely notification of his intention to plead guilty. This
Office may oppose any adjustment for acceptance ofresponsibility if the Defendant (a) fails to
admit each and every item in the factual stipulation; (b) denies involvement in the offense; (c)
gives conflicting statements about his involvement in the offense; (d) is untruthful with the Court,
this Office, or the United States Probation Office; (e) obstructs or attempts to obstruct justice prior
to sentencing; (f) engages in any criminal conduct between the date of this agreement and the date
of sentencing; or (g) attempts to withdraw his plea of guilty. In light of the foregoing, the
Defendant's anticipated adjusted offense level is 34.

                 e.     Criminal History. The Defendant understands that there is no agreement
as to his criminal history or criminal history category, and that his criminal history could alter his
offense level if he is a career offender or if the instant offense was a part of a pattern of criminal
conduct from which he derived a substantial portion of his income. However, the parties presently
anticipate that the Defendant's criminal history category is IV.

        7.     With respect to the calculation of criminal history, and the calculation of the
advisory guidelines range, the parties agree that no other offense characteristics, sentencing
guidelines factors, potential departures or adjustments set forth in the United States Sentencing
Guidelines will be raised or are in dispute. The parties reserve the right to bring to the Court's


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attention at the time of sentencing, and the Court will be entitled to consider, all relevant
information concerning the Defendant's background, character and conduct and any other factors
relevant to the application of 18 U.S.C. !i 3553(a). The parties agree that such information may be
presented to the Court through attorney proffer or witness testimony.

                                          Waiver of Appeal

       8.      In exchange for the concessions made by this Office and the Defendant in this plea
agreement, this Office and the Defendant waive their rights to appeal as follows:

            a. The Defendant knowingly waives all right, pursuant to 28 U.S.c.              !i   1291 or
               otherwise, to appeal the Defendant's conviction.

            b. The Defendant and this Office knowingly and expressly waive all rights pursuant
               to 18 U.S.C. !i 3742 or otherwise, to appeal whatever sentence is imposed
               (including the right to appeal any issues that relate to the establishment of the
               advisory guidelines range, the determination of the defendant's base offense level
               under U.S.S.G. !i 2K2.l, the determination of the defendant's criminal history, the
               weighing of the sentencing factors, and the decision whether to impose and the
               calculation of any term of imprisonment, fine, order of forfeiture, order of
               restitution, and term or condition of supervised release).

            c. Nothing in this agreement shall be construed to prevent the Defendant or this Office
               from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from
               appealing from any decision thereunder, should a sentence be imposed that resulted
               from arithmetical, technical, or other clear error.

            d. The Defendant waives any and all rights under the Freedom of Information Act
               relating to the investigation and prosecution of the above-captioned matter and
               agrees not to file any request fo~ documents from this Office or any investigating
               agency.

                                              Forfeiture

  .      9.      The Defendant understands and agrees that as a result of his guilty plea, he will not
be permitted to own, possess, or use a firearm. The Defendant agrees to forfeit to the United States
all of his right, title, and interest in the items identified in this paragraph and further agrees to
forfeit to the United States all right, title, and interest in any and all money, property, or assets of
any kind, derived from or acquired as a result of, or used to facilitate the commission of, the
Defendant's illegal activities, including the following:

            a. Items seized from the Defendant's residence at 8114 Dotty Road, Rosedale,
               Maryland 21237, including: a 2008 Chevrolet Impala, bearing Maryland
               Registration 8BZ7506 and VIN: 2G IWB58N589236607, U.S. Currency in the
               amount of$3,782, and a .357 Smith.and Wesson loaded handgun with 6 rounds,
               serial number DAT5382, and a box of .38 ammunition.




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            b. Items seized from the stash house at 3012 Reese Street, Baltimore, MD,
               including: (I) a twenty-ton hydraulic press.

                              Obstruction or Other Violations of Law

         10.     The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. S 3Cl.l, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or local
law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the Defendant's obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance ofthe evidence.
The Defendant acknowledges that he may not withdraw his guilty plea because this Office is
relieved of its obligations under the agreement pursuant to this paragraph.

                                         Court Not a Party

         II.    The Defendant expressly understands that the Court is not a party to this agreement.
In the federal system, sentence is imposed by the Court, and the Court is under no obligation to
accept this plea agreement. In particular, the Defendant understands that neither the United States
Probation Office nor the Court is bound by the stipulation set forth above, and that the Court will,
with the aid of the Presentence Report, determine the facts relevant to sentencing. The Defendant
understands that the Court cannot rely exclusively upon the stipulation in ascertaining the factors
relevant to the determination of sentence. Rather, in determining the factual basis for the sentence,
the Court will consider the stipulation, together with the results of the presentence investigation,
and any other relevant information. The Defendant understands that the Court is under no
obligation to accept this Office's recommendations, and the Court has the power to impose a
sentence up to and including the statutory maximum identified in Paragraph 3. The Defendant
understands that if the Court ascertains factors different from those contained in the stipulation set
forth above, or ifthe Court should impose any sentence up to the maximum established by statute,
the Defendant cannot, for that reason, withdraw his guilty plea, and will remain bound to fulfill all
of his obligations under this agreement. The Defendant understands that neither the prosecutor,
his counsel, nor the Court can make a binding prediction, promise, or representation as to what
guidelines range or sentence the Defendant will receive. The Defendant agrees that no one has
made such a binding prediction or promise.


                                         Entire Agreement

        12.    This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,



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promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed by all parties.

        If the Defendant full y accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and return it to me promptly.

                                               Very truly yours,

                                               Rod J. Rosenstein
                                               United States Attorney




                                              Assistant United States Attorney

        I have read this agreement, and carefully reviewed every part of it with my attorney. I
understand it, and I voluntarily agree to it. Specifically, I have reviewed the Factual and Advisory
Guidelines Stipulation with my attorney, and I do not wish to change any part of it. I am
completely satisfied with the representation of my attorney.




2Jl-ll
Date
                                                u~~
                                              Defendant Charles Gilliam, Jr.


        I am Charles Gilliam, Jr. 's attorney. I have carefully reviewed every part of this agreement
with him. He advises me that he understands and accepts its terms. To my knowledge, his decision
to enter into this agreement is an informed and voluntary one.




                                                  7
                                           Attachment A

        The undersigned parties stipulate and agree that if this case had proceeded to trial, the
Government would have proven the following facts beyond a reasonable doubt. The undersigned
parties also stipulate and agree that the following facts do not encompass all of the evidence that
would have been presented had this matter proceeded to trial.

         Law enforcement began an investigation in 2015 into a drug conspiracy involving the
distribution of heroin and cocaine base (commonly known as crack) in the Baltimore Metropolitan
area. As part of its investigation, law enforcement utilized a number of investigative techniques,
including search warrants, GPS tracking, surveillance, wiretaps, and the installation of a camera
and bug in a stash house used by members of the conspiracy.

         The Defendant was a member of this drug trafficking conspiracy. The members of the
conspiracy included, but were not limited to, Charles Gilliam, Jr., Theodore Smith, Darryl Scott,
Anthony Hart, Leon Koger, Tarik Brooks, Jermaine Epps, Darren Farmer, Terry Downs, Asante
Leroy Marshall, Kevin Rasean Moore (aka Akia Owens) and Eddie Lewis. Members of the
conspiracy distributed several different controlled dangerous substances, including, but not limited
to, heroin and cocaine base (commonly known as crack). Members ofthe conspiracy operated an
open air drug market near the 600 block of Glenwood Avenue in the Woodbourne-McCabe
neighborhood in Baltimore, Maryland. Here, as well as in other locations in Baltimore, Maryland,
the members of the conspiracy oversaw the distribution of the organization's signature orange-top
vials of crack cocaine. Members of the conspiracy purchased cocaine and converted the cocaine
to cocaine base by cooking the cocaine in stash houses. Members of the conspiracy used
residences in and around North Baltimore to cut, package and store narcotics. These locations
included, but were not limited to the following locations in Baltimore: A house at 3012 Reese
Street, an apartment at 5001 Midwood Avenue, and a house at 5215 Craig Avenue. Some members
of the conspiracy, including the Defendant, sold large quantities of heroin, and used stash houses
to process and repackage these narcotics for distribution. Some members of the conspiracy
committed acts of violence in furtherance of the organization's activities. Some members of the
conspiracy routinely carried firearms in furtherance ofthe conspiracy. Members of the conspiracy
conducted counter-surveiilance of law enforcement to prevent law enforcement from detecting
their illegal activities. Members of the conspiracy frequently changed phones to thwart law
enforcement. Members of the conspiracy used the proceeds of sales of narcotics to enrich
themselves and to further the activities of the organization. Members of the conspiracy would
collect money to pay for legal counsel for other members who were arrested for trafficking
narcotics on behalf of the organization.

        The Defendant was the leader of the organization and was responsible for distributing
wholesale quantities of heroin on behalf of the organization. Law enforcement intercepted a
number of calls over a phone used by the Defendant during which the Defendant discussed meeting
up with other narcotics traffickers to distribute narcotics. During the month of August 2016, the
Defendant was recorded on a video camera in the kitchen of one of the organization's stash houses
engaging in drug trafficking activities. For example, on August 5, 2016, Charles Gilliam, Jr. was
recorded in the stash house using a digital scale to weigh heroin and package heroin in clear plastic
bags. On August 6, 2016, the Defendant was recorded on video mixing heroin with a cutting agent
and manipulating the substance before scrambling the heroin in a ninja blender with various cutting


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  agents. The Defendant then put the heroin into bags and law enforcement intercepted a phone call
  during which the Defendant arranged to meet a customer "near Grandma's" to distribute heroin.
  On August II and August 12,2016, Gilliam was also recorded on video preparing and packaging
  heroin in the stash house. On August 22,2016, the Defendant was recorded on video in the stash
  house preparing heroin with Theodore Smith. During the conversation with Smith, the Defendant
  discussed the organization's sales of crack cocaine at the street shop and provided advice to Smith
  about how Smith could increase street sales of crack cocaine. The Defendant and Smith continued
. packaging and preparing heroin in the stash house, which was recorded on video. The Defendant
  stored his heroin in the stash house where cocaine and crack cocaine were stored by other members
  of the organization. On September I, 2016, law enforcement seized narcotics in the stash house
  at 3012 Reese Street, including 130 grams of raw heroin, 15 grams of cocaine, 36 grams of diluted
  heroin and 20 filled-up orange top vials containing crack cocaine.

        The Defendant supervised more than five of his co-conspirators. The Defendant paid
money towards the rent of 3012 Reese Street, which was the organization's stash house, and
maintained the premises for the purpose of manufacturing and distributing controlled substances,
including heroin and crack cocaine.

        The parties stipulate and agree that the amount of heroin reasonably foreseeable to the
Defendant in, and in furtherance of, this conspiracy amounts to at least 3 kilograms of heroin, but
less than 10 kilograms of heroin. The parties stipulate and agree that the amount of cocaine base
reasonably foreseeable to the Defendant in, and in furtherance of, this conspiracy amounts to at
least 280 grams of cocaine base, but less than 840 grams of cocaine base. The parties stipulate
and agree that the total weight of heroin and cocaine, after converting crack cocaine to cocaine on
an equal one-gram to one-gram basis, reasonably foreseeable to the defendant is the equivalent of
between 3,000 kilograms of marijuana and 10,000 kilograms of marijuana, resulting in a base
offense level of 32.

                                                       J2Mds="
                                                      Derek E. Rilles
                                                      Assistant United States Attorney

        I have read this Statement of Facts and carefully reviewed every part of it with my attorney.
I understand it, and I voluntarily agree to it. I do not wish to change any part of it.


  ~-1l-17
Date
                                                        u~)J~
                                                      Charles Gilliam, Jr. Defendant


        I am Charles Gilliam, Jr.'s attorney. I have carefully reviewed every part of this Statement
of Facts with him. To my knowledge, his decision to'          it is a voluntary one.


  clr~/7
Date'



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